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 7 ACTUARIES, INC., and WILLIAM SHEFFLER

 8                                 UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10 CHEAP EASY ONLINE TRAFFIC                     )    Case No.: 16-CV-2644-WQH (RNB)
     SCHOOL; BORNA MOZAFARI AND                  )
11   MARLA KELLER AS TRUSTEES FOR                )    Date April 16, 2018
     CHEAP EASY ON-LINE TRAFFIC                  )    Dept.: Courtroom 14B (Annex)
12   SCHOOL PENSION PLAN; BORNA                  )
     MOZAFARI AS TRUSTEE FOR THE                 )    Magistrate Judge Robert N. Block
13   CHEAP EASY ON-LINE PROFIT                   )    Judge: Hon. William Q. Hayes
     SHARING PLAN; EASY ON LINE                  )
14   TRAFFIC SCHOOL.COM, INC.;                   )
     MARLA KELLER AS TRUSTEE FOR                 )    NO ORAL ARGUMENT UNLESS
15   THE MARLA KELLER PENSION                    )    REQUESTED BY THE COURT
     PLAN AND MARLA KELLER 401(k)                )
16   PLAN,                                       )    DEFENDANTS SMI PENSIONS,
                                                 )    SHEFFLER CONSULTING
17                  Plaintiffs,                  )    ACTUARIES, INC., AND WILLIAM
                                                 )    SHEFFLER’S NOTICE OF MOTION
18 v.                                            )    AND MOTION FOR SUMMARY
                                                 )    JUDGMENT AS TO PLAINTIFFS’
19 PETER L. HUNTTING & CO., INC.;                )    FIRST CAUSE OF ACTION
     SMI PENSIONS; SHEFFLER                      )    [BREACH OF FIDUCIARY DUTIES
20 CONSULTING ACTUARIES INC.;                    )    ERISA § 404(A)(1). 29 U.S.C. §
     ESTATE OF PETER L. HUNTTING;                )    1104(A)(1)] AND TO DISMISS
21 MIKE EDWARDS; WILLIAM                         )    PENDENT CAUSES OF ACTION
     SHEFFLER; ECONOMIC GROUP                    )    TWO THROUGH SIX OR IN THE
22 PENSION SERVICES GROUP, INC.;                 )    ALTERNATIVE TO DISMISS
     and DOES 1 to 100, inclusive,               )    CAUSES OF ACTION TWO
23                                               )    THROUGH SIX AS PREEMPTED.
                    Defendants                   )
24                                               )
                                                 )    Complaint Filed: October 24, 2016
25                                               )    Trial Date: None Set
                                                 )
26

27          TO: PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
28          NOTICE IS HEREBY GIVEN pursuant to the Federal Rules of Civil
                                                -1-
     Notice of Motion and Motion                                Case No.: 16-CV-2644-WQH (RNB)
Case 3:16-cv-02644-WQH-MSB Document 46 Filed 03/15/18 PageID.498 Page 2 of 6




 1 Procedure, Rule 56, on April 16, 2018, or as soon thereafter as the matter can be

 2 heard by the above-entitled Court, located at 333 W. Broadway, San Diego,

 3 California, 92101, in Courtroom 14B, before the Honorable William Q. Hayes

 4 presiding, Defendants SMI PENSIONS, SHEFFLER CONSULTING ACTUARIES,

 5 INC., and WILLIAM SHEFFLER (hereinafter the “Sheffler Defendants” or

 6 “Sheffler”) will move the Court for Summary Judgment of the First Cause of Action

 7 of Plaintiffs' First Amended Complaint (alleging a claim for "breach of fiduciary

 8 duty" under ERISA § 404(a)(1), and 29 U.S.C. § 1104(a)(1)), on the grounds there is

 9 no genuine issue as to any material fact and Sheffler Defendants are entitled to

10 Judgment on that First Cause of Action as a matter of law.

11          The basis for the motion is that the Sheffler Defendants were not fiduciaries
12 within the meaning of the statues relied upon by Plaintiffs in the operative First

13 Amended Complaint.

14          Sheffler Defendants will also move the Court to Dismiss Pendent Cause of
15 Action Two through Six of the operative First Amended Complaint on the grounds

16 the Court should decline to exercise jurisdiction over state law claims after it

17 dismisses all claims over which the Court had original jurisdiction.

18          Alternatively, if the Court is not inclined to dismiss the First Cause of Action
19 of Plaintiffs’ First Amended Complaint, Sheffler Defendants join the other

20 Defendants in moving the Court to Dismiss Cause of Action Two through Six of the

21 operative First Amended Complaint as preempted on the grounds that ERISA’s

22 preemption clause bars Causes of Action Two through Six

23          This motion is based upon this Notice of Motion and Motion, Sheffler
24 Defendants’        Separate Statement of Undisputed Facts, Sheffler Defendants’
25 Memorandum of Points and Authorities, Sheffler Defendants’ Request for Judicial

26 Notice, the Declarations of William Sheffler and Thomas M. Monson and all

27 pleadings and papers on file in this case, and upon such other and further matters as

28

                                               -2-
     Notice of Motion and Motion                               Case No.: 16-CV-2644-WQH (RNB)
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 1 the Court may inquire and as may be presented at the time of any hearing on the

 2 motion.

 3

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 5 Dated: March 15, 2018            MILLER, MONSON, PESHEL,
 6
                                     POLACEK & HOSHAW

 7

 8
                                    By: s/Thomas M. Monson
                                       Thomas M. Monson
 9                                     Attorneys for SMI PENSIONS, SHEFFLER
10                                     CONSULTING ACTUARIES, INC., and
                                       WILLIAM SHEFFLER
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     Notice of Motion and Motion                        Case No.: 16-CV-2644-WQH (RNB)
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 1                              CERTIFICATE OF SERVICE
 2
     Cheap Easy Online Traffic School, et al. v. Peter L. Huntting & Co., Inc., et al.
 3 Case No. 3:16-cv-02644-WQH-RNB

 4
             I, __Thomas M. Monson_, declare that:
 5

 6       I am employed in the County of San Diego, State of California. I am over the
   age of 18 years and not a party to the within action. My business address is 10021
 7 Willow Creek Road, Suite 200, San Diego, CA 92131.

 8
             On March 15, 2018, I caused to be served the following document(s):
 9
10      1. DEFENDANTS SMI PENSIONS, SHEFFLER CONSULTING ACTUARIES,
           INC., AND WILLIAM SHEFFLER’S NOTICE OF MOTION AND MOTION
11         FOR SUMMARY JUDGMENT AS TO PLAINTIFFS’ FIRST CAUSE OF
           ACTION [BREACH OF FIDUCIARY DUTIES ERISA § 404(A)(1). 29
12         U.S.C. § 1104(A)(1)] AND TO DISMISS PENDENT CAUSES OF ACTION
           TWO THROUGH SIX OR IN THE ALTERNATIVE TO DISMISS CAUSES
13         OF ACTION TWO THROUGH SIX AS PREEMPTED

14      2. DEFENDANTS SMI PENSIONS, SHEFFLER CONSULTING ACTUARIES,
           INC., AND WILLIAM SHEFFLER’S MEMORANDUM OF POINTS AND
15         AUTHORITIES IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
           AS TO PLAINTIFFS' FIRST CAUSE OF ACTION [BREACH OF
16         FIDUCIARY DUTIES ERISA § 404(A)(1), 29 U.S.C. § 1104(A)(1)] AND TO
           DISMISS PENDENT CAUSES OF ACTION TWO THROUGH SIX OR IN
17         THE ALTERNATIVE TO DISMISS CAUSES OF ACTION TWO
           THROUGH SIX AS PREEMPTED
18
        3. DECLARATION OF WILLIAM SHEFFLER IN SUPPORT OF
19         DEFENDANTS SMI PENSIONS, SHEFFLER CONSULTING ACTUARIES,
           INC., AND WILLIAM SHEFFLER’S MOTION FOR SUMMARY
20         JUDGMENT AS TO PLAINTIFFS' FIRST CAUSE OF ACTION [BREACH
           OF FIDUCIARY DUTIES ERISA § 404(A)(1), 29 U.S.C. § 1104(A)(1)] AND
21         TO DISMISS PENDENT CAUSES OF ACTION TWO THROUGH SIX OR
           IN THE ALTERNATIVE TO DISMISS CAUSES OF ACTION TWO
22         THROUGH SIX AS PREEMPTED

23      4. DECLARATION OF THOMAS MONSON IN SUPPORT OF
           DEFENDANTS SMI PENSIONS, SHEFFLER CONSULTING ACTUARIES,
24         INC., AND WILLIAM SHEFFLER’S MOTION FOR SUMMARY
           JUDGMENT AS TO PLAINTIFFS' FIRST CAUSE OF ACTION [BREACH
25         OF FIDUCIARY DUTIES ERISA § 404(A)(1), 29 U.S.C. § 1104(A)(1)] AND
           TO DISMISS PENDENT CAUSES OF ACTION TWO THROUGH SIX OR
26         IN THE ALTERNATIVE TO DISMISS CAUSES OF ACTION TWO
           THROUGH SIX AS PREEMPTED
27
        5. DEFENDANTS SMI PENSIONS, SHEFFLER CONSULTING ACTUARIES,
28         INC., AND WILLIAM SHEFFLER’S SEPARATE STATEMENT OF
           UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
           SUMMARY JUDGMENT AS TO PLAINTIFFS' FIRST CAUSE OF
                                               -1-
      Certificate of Service                                    Case No. 3:16-cv-02644-WQH-RNB
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 1          ACTION [BREACH OF FIDUCIARY DUTIES ERISA § 404(A)(1), 29
            U.S.C. § 1104(A)(1)] AND TO DISMISS PENDENT CAUSES OF ACTION
 2          TWO THROUGH SIX OR IN THE ALTERNATIVE TO DISMISS CAUSES
            OF ACTION TWO THROUGH SIX AS PREEMPTED
 3
       6. REQUEST FOR JUDICIAL NOTICE RE: DEFENDANTS SMI PENSIONS,
 4        SHEFFLER CONSULTING ACTUARIES, INC., AND WILLIAM
          SHEFFLER’S MOTION FOR SUMMARY JUDGMENT AS TO
 5        PLAINTIFFS' FIRST CAUSE OF ACTION [BREACH OF FIDUCIARY
          DUTIES ERISA § 404(A)(1), 29 U.S.C. § 1104(A)(1)] AND TO DISMISS
 6        PENDENT CAUSES OF ACTION TWO THROUGH SIX OR IN THE
          ALTERNATIVE TO DISMISS CAUSES OF ACTION TWO THROUGH
 7        SIX AS PREEMPTED
 8
            BY MAIL: I caused each envelope with postage thereon fully prepaid to be
 9          placed in the United States mail at San Diego, California. I am readily familiar
            with the firm’s business practice for collection and processing of
10          correspondence for mailing with the U. S. Postal Service pursuant to which
            practice the correspondence will be deposited with the U. S. Postal Service this
11          same day in the ordinary course of business.
12   XX BY ELECTRONIC FILING SERVICE: Complying with Fed. R.Civ. P.
        5(b)(2)(E), my electronic business address is tomomonson@erisa-law.com and
13      I caused such documents(s) to be electronically served for the above-entitled
        case to those parties on the Service List below. The file transmission was
14      reported complete and a copy will be maintained with the original document(s)
        in our office.
15
            BY FACSIMILE: I served the above document(s) on each above addressee by
16          facsimile transmission at the date and time and to the facsimile number listed
            below each name.
17
            BY PERSONAL SERVICE: I personally delivered by hand to the offices of
18          the addressee.
19          [State] I declare under penalty of perjury under the laws of the State of
            California that the above is true and correct.
20
     XX     [Federal] I declare that I am employed in the office of a member of the bar of
21          this Court at whose direction the service was made.
22          Executed March 15, 2018, at San Diego, California.
23

24
                                               /s/ Thomas M. Monson
25
                                             Thomas M. Monson
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     Certificate of Service                                      Case No. 3:16-cv-02644-WQH-RNB
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 1
                                                             SERVICE LIST
 2

 3
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 4    Horton Village Law Group, APC                                            Online Traffic School; Borna Mozafari
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 5    P.O. Box 9181                                                            Easy On-line Traffic School Pension
      Rancho Santa Fe, CA 92067                                                Plan; Borna Mozafari as Trustee for the
 6    Telephone: (858) 832-8685                                                Cheap Easy On-line Profit Sharing Plan;
      Facsimile: (858) 832-8704                                                Easy on Line Traffic School.com, Inc.;
 7    lhorton@hortonvillagelaw.com                                             Marla Keller as Trustee for the Marla
                                                                               Keller Pension Plan and Marla Keller
 8                                                                             401(k) Plan

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       Certificate of Service                                                               Case No. 3:16-cv-02644-WQH-RNB
